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                                UNITED STATES DISTRICT COURT
                                   DISTRICT OF NEW JERSEY
                                      TRENTON DIVISION

  THE INDEPENDENCE PROJECT, INC., a New
  Jersey Non Profit Corporation, and RONALD
  MOORE, Individually,

                Plaintiffs,
  vs.                                                  Case No: 3:1 8-cv-00685-PGS-DEA

  BOTTAZZI ASSOCIATES, LLC, a New Jersey
  Limited Liability Company,

                Defendant(s).
                                                 /

                    STIPULATION FOR DISMISSAL WITH PREJUDICE

          Plaintiff and Defendant, pursuant to the Federal Rules of Civil Procedure, hereby move
  to dismiss this action with prejudice, a resolution of all matters in dispute having been made
  pursuant to a Settlement Agreement executed between the parties. The parties have stipulated in
  their agreement that the Court retain jurisdiction to enforce the terms and conditions of the
  Settlement Agreement.
  Respectfully Submitted,



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  Date:                                               Date:
